      Case 3:16-md-02741-VC           Document 20420          Filed 03/31/25      Page 1 of 2




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 329: ORDER
                                                     DENYING MONSANTO’S MOTION
   Levy v. Monsanto Co.,                             TO EXCLUDE EXPERT FRANK
   Case No. 3:21-cv-07643-VC                         LOVECCHIO AND FOR SUMMARY
                                                     JUDGMENT
                                                     Re: Dkt. No. 20082

       Monsanto’s motion to exclude the testimony of Dr. Frank LoVecchio is denied. This

ruling assumes the reader’s familiarity with the facts, the applicable legal standard, the prior

Daubert rulings in this MDL, and the arguments made by the parties. See generally In re

Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order

No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D.

Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d
941 (9th Cir. 2021).

       Monsanto’s motion is denied as to whether LoVecchio appropriately “ruled in” Roundup

or calculated the plaintiff’s exposure. See Pretrial Order No. 290 (Dkt. No. 18320). The same is

true for its arguments about how LoVecchio dealt with naturally occurring genetic mutations.

See Pretrial Order No. 323 (Dkt. No. 20400) at 5.

       That leaves Monsanto’s arguments around five risk factors that it argues LoVecchio did

not reliably rule out: age, gender, ethnicity, weight, and cancer history. LoVecchio agreed that
Levy’s age, gender, and ethnicity are associated with NHL but testified that the association does
        Case 3:16-md-02741-VC         Document 20420         Filed 03/31/25     Page 2 of 2




not mean they cause NHL. See LoVecchio Dep. (Dkt. No. 20082-3) at 77:21–78:21, 83:25–14.

The Court considered and rejected a similar rationale given to “rule out” certain other risk factors

in Pretrial Order No. 322 (Dkt. No. 20398) at 4. But unlike there, LoVecchio’s explanation

actually makes some sense for these demographic risk factors. And, more importantly,

LoVecchio doesn’t try to casually disregard every risk factor for only having correlative support

or contradict himself about correlative evidence relating to Roundup and non-Roundup risk

factors. On weight, Monsanto has not presented evidence that Levy was obese, so LoVecchio’s

testimony on the subject does not render his opinion unreliable. Regarding cancer history,

LoVecchio’s discussion of Levy’s mother’s breast cancer at deposition appears to be at least

somewhat based in the literature, which Monsanto has not presented evidence to contradict. See

LoVecchio Dep. at 82:1 –83:2. Therefore, Monsanto’s motion is denied as to these factors as

well.

                                                ***

         As the plaintiff will be able to call LoVecchio to opine on specific causation, Monsanto’s

motion for summary is denied.

         IT IS SO ORDERED.

Dated: March 31, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




                                                 2
